                                               Case 3:21-cv-30033 Document 1-1 Filed 03/15/21 Page 1 of 8
                                                                                EXHIBIT A

                                           TO PLAlNTIFF'S ATTORNEY: PLEASE CIRCLE TYPE OF ACTION INVOLVED:
                                           TORT - MOTOR VEillCLE TORT - CONTRACT - EQUITABLE RELIEF - OTHER
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      j
      ,..
      )
                                                    COMMONWEALTH OF MASSACHUSETTS


                      HAMPDEN,ss                                                                                SUPERIOR COURT
                                                                                              DEPARTMENT OF TiiE TffiAL COURT
                                                                                                          CIVIL ACTIO~ NO.
                   .          ...                                                                                           ~11'1 C!-VDOD5~
                      i...a~"~~ "S~t u~. arcf .
                  , ,401

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                               ~Hb Netwoct.. In:.·                                  , PLAINTIFF(S)

                                                    v.                                                                  SUM.MONS

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                    ............••......
                                   '1                        n..:.:y../'-~-
                                                           ......      · _ ___,, DEFENl>ANT(S)
                    To the above named defendant:               "PhLladu~ ~t\L~ l.vi~tlf.n~ :(0 ··
                    .         You are hereby summoned and required to serve upon~-M.J.41::.1..+..J..~~~~~~...;.....-r-.-----·
                  · plaintiffs attorney, whose address is         ' H£i P.C. ·                                                  J
                    an answ~r to the complaint whlch is herewith seived upon you, within 20 ~ys after se . ·ce of this sununons
                    upon you, exclusive of the day of service. If you fail to·d.o so, judgment by:default will be taken ·against-you
                    for tlie'-llelief ·aeman~e9 in the complaint You are also required to fil~ }'OU{ ~nswer ta the conip1aint in the
                    office [t the Clerk. of this court at Springfield either before service upo~ the plaintiffs attonu~y or within a
                    reasonable tim~ tfiereafter.                ·


                             Unless otherWise provided byrule 13(a), your answer must state as a couitt~laim any cfaiin which you
                  . may have against the plaintiff which arises out ofthe transaction or occurreric.e that is tl;ie subject matter of the
                  ··plaintift'.s claim ot you· will thereafter be barred from making such cla~m in any o~hei action. ·          ·


                   ,'     Witness, Judith F~bricant, Esq., at Sprin,gfield the                      q ·fh .        day of        Jeb~~
                   m the year of our Lord.two thousand : ~ ·Df'\J'.L-.




                                                                                        Laura S. Gentile, Esquire
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..          ~
                                                                                        CLERK OF COURTS
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                     . . ; . summons is issued puralliJnt hi .1.lule .;            : . ;· :.· .:a.chuselts Rules of Civil Procedure
                   , . '.':' · ·n more than one defendant is involved, th.: names of all such defendants should appear in the caption~fa
                                                                                                                                       se arat~ summons is used
                    '.: ·.·· • .: . '.'. :nr' ··~ t, each should be addressed to the particular defendant.                          , ,     ,~     ~

                   FORM No 1
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                                                                                          ·                t.true aopy Attest:
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                      Case 3:21-cv-30033 Document 1-1 Filed 03/15/21 Page 2 of 8


                                                    DOCKET NUMBER
                                                                                                Trial Court of Massachusetts
          CIVIL TRACKING ORDER
              (STANDING ORDER 1- 88)                 2179CV00052                               The Superior Court
CASE NAME:
                                                                                                Laura S Gentile, Clerk of Courts
      401 Liberty Street, LLC et at vs. Philadelphia Indemnity Insurance
      Company
                                                                                               COURT NAME &ADDRESS
To:    Shawn M O'Connor, Esq.
                                                                                                 Hampden County Superior Court
       Raipher PC
                                                                                                 Hall of Justice - 50 State Street
       265 State St
                                                                                                 P.O. Box 559
       Springfield, MA 01103                                                                     Springfield, MA 01102


                                              TRACKING ORDER· F • Fast Track
              You are hereby notified that this case is on the track referenced above as per Superior Court Standing
  Order 1-88. The order requires that the various stages of litigation described below must be completed not later
  than the deadlines indicated.


              STAGES OF LITIGATION                                                                     DEADLINE

                                                                             SERVED BY                           FILED BY          HEARD BY
                                                                                           ,
      Service of process made and retum filed with the Court               !··
                                                                                       t
                                                                                               "· '.   ·.." ~;
                                                                            !'·.:: . r-:·:,. .......... ~· '
                                                                                                                 04/29/2021
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                                                                                           ..           .-
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                                                                                                ' •
                                                                                                       •rr,
      Response to the complaint filed (also see MRCP 12)
                                                                                 ...   ·' :
                                                                                                .. ., .... ..    06/01/2021

      All motions under MRCP 12, 19, and 20                                      06/01/2021                      06/28/2021        07128/2021

      All motions under MRCP 15                                                  06/01/2021                      06128/2021        07/28/2021

  All discovery requests and depositions served and non-expert
                                                                                 11/26/2021
  depositions completed

  AU motions under MRCP 56                                                       12/27/2021

  Final pre-trial conference held and/or firm trial date set

  Case shall be resolved and judgmer;it shall issue by




 The final pre-trial deadline is not the scheduled date of the conference. You will be notified of that date at a later time.
 Counsel for plaintiff must serve this tracking order on defendant before the deadline for filing return of service.
 This case Is assigned to



DATE ISSUED            ASSISTANT CLERK                                                                                  PHONE

  02/09/2021               Brian Dolaher                                                                                      (413)735-6017

                                                                                                                                                SCV026\ D&l20t9
                                      Case 3:21-cv-30033 Document 1-1 Filed 03/15/21 Page 3 of 8

.·
                                                                                       DOCKET NUMBER
                                                                                                                                                        Trial Court of Massachusetts
          CIVIL ACTION COVER SHEET
                                                                                                                                                        The Superior Court
 PLAINTIFF(S}:             401 LIBERTY STREET, LLC and BEHAVIORAL HEALTH NETWORK.                                                               COUNTY
                                                                                                                                                               Hampden
 ADDRESS:

                                                                                                                    DEFENDANT($}:             PHILADELPHIA INDEMNITY INSURANCE COMPANY




 ATTORNEY:                 Ralpher D. Pelegrino; Shewn M. O'Connor

 ADDRESS:                  RAIPHER, P.C.                                                                            ADDRESS:

 265 Slate Skeet, Spnngfield, MA 01103

 (413) 746-4400

 880:                      RDP: 11560614:         SMO: 11856221

                                                                  TYPE OF ACllON AND TRACK OESIGNATION (see reverse side)

             CODE NO.                                  TYPE OF ACTION (specify)                                                   TRACK                        HAS A JURY CLAIM BEEN MADE?
            A06                                 Insurance Contract                                                                F                            IRJYES           NO      0
 •If "Other" please describe:

                                                                        STATEMENT OF DAMAGES PURSUANT TO G.L. c. 212, § 3A

 The following is a fuW, Itemized and detailed statement of the facts on which lhe undersigned plaintiff or plaintiff counsel relies to determine money damages. For
 this rorm, disregard double or treble damage claims; Indicate single damages only.
                                                                                                       TORT CLAIMS
                                                                                           (allach additional sheets as necessary)

A. Documented medical expenses to date:
          1. Total hospital expenses.................................................................................................................. ...............................................    S
          2. Total doctor expenses.................................................. ..................................................................................................................   S
          3. Total chiropractic expef1Ses ...........................................................................................-................................................................    $
          4. Total physical therapy expenses ................. ,.................................. ...............................................................................................        $
          5. Total other expenses (describe below) ..........................................................................................................................................             $
                                                                                                                                                                                    Subtotal (A):         $
 DIAGNOSTIC IMAGING
B. Documented lost wages and compensalion to date ..................................................................... .................................................................                 _$
C. Documented property damages to dated ............... .................................... ...................................................................................................           S
D. Reasonably anticipated future medical and hospital expenses ....................................................... ...... .......................................................                      S
E. Reasonably an~clpaled lost wages .................................................... ................................................................................:.................. .........     S
F. Other documented ilems of damages (describe below) ................................................................................................................................                    $


G. BrieHy describe plaintiffs injury, Including the nature and extent of Injury:

                                                                                                                                                                                     TOTAL (A-F):$

                                                                                                 CONTRACT CLAIMS
                                                                                     (attach additional sheets as necessary)

Provide a detailed description of claims(s):
DEFENDANT FAILED TO PAY ON A CLAIM MAQ..,,.,,,•..,.o"'                                                                                   D BY THE PLJIJNTIFFS.                             TOTAL:$             626,68600




 Signature of Attorney/Pro Se Plaintiff: X                                                                                                                                                     Date: Jan 28, 2021
RELATED ACTIONS: Please provide the
                                                                   '·

                                               CERTIFICATION PURSUANT TO SJC RULE 1:18
I hereby certify that I have complied with requirements of Rule 5 of the Supreme Judicial Court Uniform Rules on Dispute Resolution (SJC
Rule 1:18) requiring that I provide my clie ~- • r formaf about court-giA<Jected dispute res~lution services and discuss with them the
advantages and disadvantages of the v           m hodsl di P. e re I 116n. '

Signature of Attorney of Record:                                                                                                                                                              Date: Jan 28, 2021
        Case 3:21-cv-30033 Document 1-1 Filed 03/15/21 Page 4 of 8




                        COMMONWEALTH OF MASSACHUSETTS
HAMPDEN,    SS.                                     SUPERIOR COURT DEPARTMENT
                                                    CIVIL ACTION NO.: 9-J 1'1 C:..V OC{)~


401 LIBERTY STREET, LLC, and
BEHAVIORAL HEALTH NETWORK, INC.,
                 Plaintiffs,
v.

PHILADELPHIA INDEMNITY
INSURANCE COMPANY,
                Defendant.




                    COMPLAINT AND DEMAND FOR JURY TRIAL
                                          PARTIES


  1.   The Plaintiff, 401 Liberty Street, LLC ("401 Liberty"), is a Massachusetts limited
       liability company, with its principal place of business located at 265 State Street,
       Springfield, Massachusetts 01103.
  2.   The Plaintiff, Behavioral Health Network, Inc. (''BHN"), is a non-pro~t corporation, with
       its principal place of business located at 417 Liberty Street, Springfield, Massachusetts
       01104.
 3.    The Defendant, Philadelphia Indemnity Insurance Company ("Philadelphia"), is a
       Pennsylvania insurance business corporation, with an office located at 175 Federal Street,
       Suite 710, Boston, Massachusetts 02110.

                                             FACTS

 4.    On or about December 7, 2018, a fire damaged the property located at 59 - 61 St. James
       Avenue, Springfield, Massachusetts 01105 ("Premises").
 5.    The Premises are comprised of two buildings that are used by BHN as a single group
       home with greater than 16 residents in each building.         The fire severely damaged
       building 59, which is the portion of the premises that, in part, serves as the only kitchen
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      for all the residents of the group home, as well as the only location for an intake center,
      meeting rooms and a nurses' station, all of which are necessary to the operation of the
      group home.
6.    BHN filed a claim with their insurance company, Philadelphia, for the damage caused by
      the fire pursuant to the policy issued by Philadelphia to BHN.
7.    As a result of the fire and the damages therefrom, the Premises was uninhabitable, which
      forced BHN to lease properties located at 64 and 82 Temple St. Springfield,
      Massachusetts, for their many residents left homeless by the fire.
8.    In Januaryof2019, after the fire, 401 Liberty entered into a purchase and Sale Agreement
      (St. James P&S) for the Premises from BHN.
9.    Separate and apart from the St. James P&S, BHN assigned its insurance claim for the fire
      damage to the premises to 401 Liberty.
IO. Thereafter, in an effort to determine the scope of the repairs necessary to re-occupy the
      premises for the previous use, 401 Liberty requested a Code review from the City of
      Springfield in order to determine the minimal repairs necessary to meet the requirements
      of the State Building and Fire Code for the Premises to be continued to be used as a
      Group Home (use group I-1).
11.   On or about April 10, 2019, the Building Commissioner for the City of Springfield
      reviewed the proposal submitted by 401 Liberty to comply with the State Building and
      Fire Code and agreed with the architect's conclusions.
12.   Thereafter, 401 Liberty provided the Philadelphia's adjuster with both its architect's
      review report and the building Commissioner's response.
13.   In or around December 2018, Philadelphia retained an independent adjusting firm, to
      investigate and evaluate the damages to the Premises.
14.   On or about July 25, 2019, Philadelphia, through its independent adjuster, retained a
      consulting firm to review the claim and related documents regarding the damage to the
      Premises.
15.   On or about August 30, 2019, 401 Liberty retained its own consultant to perform an
      independent review of the Premises.




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       Case 3:21-cv-30033 Document 1-1 Filed 03/15/21 Page 6 of 8




 16.    In or around June of 2020, Philadelphia's consultant toured only the exterior of the
        Premises and sent a letter to 401 Liberty stating that they believed the building to be
        indicated as an "R-3 Classificati'on."
 17.    On August 27, 2020, 401 Liberty's consultant detennined the Premises intended use and
        occupancy was "Institutional Type I-1, Condition 1," and that "additional time is required
        for fire protection" to bring the Premises up to Code.
 18.   On November 23, 2020, an agent for Philadelphia notified 401 Liberty that the Premises
       "can be returned to its pre-damage condition without upgrade" and "no repair or upgrade
       of building 61 located next door is necessary as it was not damaged .... "
19.    To date, despite the Building Commissioner's requirement of what is needed to bring the
       Premises to Building and Fire Code, the costs thereof, as well as the losses sustained by
       the Plaintiffs for the loss of use of the premises, the concomitant costs associated with
       finding alternative housing for its residents, and the duties and requirements of
       Philadelphia under the policy, Philadelphia has failed to pay 401 Liberty or BHN to the
       extent it is responsible to pay such losses.
20.    Philadelphia, by and through its consultant, used a material misrepresentation to justify
       its refusal to pay 401 Liberty and BHN to the extent it is responsible.
21.    Unable to come to an agreement as to the work required to bring the Premises to Building
       and Fire Code and the amount of time required for same, the parties entered into a Tolling
       Agreement on December 7, 2020, retroactive to December 4, 2020, to extend the Statute
       of Limitations for an additional sixty (60) days, in the hopes of settling the matter.

                                     COUNf I
                                BREACH OF CONTRACT

22.    401 Liberty and BHN repeat and re-allege the allegations contained in paragraphs 1-21
       of this Complaint and, by reference, incorporate the same herein.
23.    410 Liberty and BHN contracted in good faith to insure the property located at 59-61 St.
       Jam es Ave. Springfield, Massachusetts 01105, and fully performed all of their
       obligations under the terms of the policy.
24.    Philadelphia breached its contract with 401 Liberty and BHN, by, inter alia, relying upon
       its consultant's misrepresentations and factual inaccuracies, by failing to perfonn its
       obligations pursuant to the tenns of the policy by not compensating 401 Liberty or BHN

                                                 3
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            for repair of the building to Code and by failing to perform all the covenants of the policy,
            including failing to provide 401 Liberty and BHN with rental payments for the building
            while it remains uninhabitable.
    25.     401 Liberty cannot make the needed repairs and take possession of the Premises due to
            lack of action by Philadelphia with regard to building 59.
    26.     As a result of Philadelphia's breach of contract, 401 Liberty and BHN have suffered and
            continue to suffer damages.

                                           COUNT II
                               VIOLATIONS OFM.G.L. c. 93AAND 176D
    27.     401 Liberty and BHN repeat the allegations contained in paragraphs 1-26 of the
            Complaint and, by reference, incorporate the same herein.
    28.     Despite clear liability, Philadelphia has violated the provisions of M.G.L. c. 93A and
            176D by failing to acknowledge and act reasonably prompt upon communication with
           respect to claims arising under insurance policies.
    29.    Philadelphia has violated the provisions of M.G.L. c. 93A and l 76D by failing to adopt
           and implement reasonable standards for the prompt investigation of claims arising under
           the insurance policies.
    30.    Philadelphia has violated the provisions of M.G.L. c. 93A and 176D by refusing to pay
           claims without conducting a reasonable investigation based upon all available
           information.
    31.    Philadelphia has violated the provisions of M.G.L. c. 93A and 176D by failing to
           effectuate prompt, fair and equitable settlements of claims in which liability has become
           reasonably clear.

          WHEREFORE, 401 Liberty and BHN demand judgment against Philadelphia in an amount
that will fairly and adequately compensate them for their damages, including but not limited to
those damages set forth herein, seeking an order of actual damages and an award of interest, costs,
and attorneys' fees, and such other relief as this court may deem just and proper.




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                        Case 3:21-cv-30033 Document 1-1 Filed 03/15/21 Page 8 of 8

•   •   J   b




                                              DEMANDFORJURYTRIAL

                            The Plaintiffs hereby demand a trial by jury on all issues so triable.



                                                           Respectfully submitted,




                Date: January~ 2021


                                                           Shawn M. O'Connor, Esquire
                                                          BBO#: 656221
                                                          Raipher, P.C.
                                                          265 State Street
                                                          Springfield, MA 01103
                                                          Tel. No.: (413) 746-4400
                                                          Fax. No.: (413) 746-5353
                                                          Email: rdp@raipher.com
                                                                 smo@raipher.com




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